Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 1 of 35

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Lae PIS Tren Te Done 1 29

EXHIBIT 12

FILED ENTERED
LODGED RECEIVED

MAR 20 2024 MG

AT SEATTLE
CLERK U.S. DISTRICT COURT
WESTERN DISTRIC

F WASHINGTON
BY DEPUTY

REQUEST JUDICIAL NOTICE of:
Affidavits NOTICE of Default Certified
“Judgement” of unrebutted Affidavit

herein Bound/ Attached and so named as
Affidavit(s)/Declarations of Truth,

Affidavit(s) dated:
12-16-21
1-05-22
1-4-23
1-8-23,
3-26-23

By Eric S. Freeze
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 2 of 35

Common Law AFFIDAY?T /DECL: ARATION OF TRUTH |
Notice of Constitutional Viclations, Notice to Cease and Desist
. WITTOUT DISHONOR
Via Certified 2nd 1" Class USPS Mail

Dated February 4, 2023

Etic Freeze, hereinafter, Claimant

Mail Address: P. O. Box 119

Burlington, within the organic County of Skagit .

The State of Washington [98233]. . .

The united States of America

. Ann & Ronald FREEZE REVOCABLE
LISA JANICKI 70220410000082312181 TRUST, hereinafter TRUST a legal fiction

1800 Continental Place entity,
Mount Vernon WA 9827 11 Depot Ra,

Stratham, NH [03885],
Jointty and severally to:

Ehzabeth Gatlaghar, a sentient woman,

11 Depot Rd, County of Skagit
Stratham, NH (03885} 1800 Continental P]

Mount Vernon WA 98273

Hereinafter, RESPONDENTS,

I, Exic Freeze, a sentient man (non-legel'fiction entity/person), nereinafter, Freeze, possessing God-
given unalienable Rights makes this” Co ommou Law AFFIDAVIT/DECLARATION OF TRUTH Notice
of Constitutional Violations, and Notice to Cease and Desist, hereinafter, AFFIDAVIT, declares under pain
and penalty of perjury under the laws of the organic United States of America and of the organic State of
Washington [not to be confused with any legal Siction/corporate/governmental entities] that I am of legal
age and sound mind and hereby attests that the statements, averments and information contained in this
AFFIDAVIT are tree and correct to the bést of: my knowledge. Eric was born on Property outlined in
NOTICE OF CERTAIN FACTS, 1.(PAGE 2.) hereinafter, Property. Freeze has had a valid contract with TRUST
since 2008. .

THROUGH SERIAL ACTS OF NEGLIGENCE, FRAUDULENT PRACTICES AND ACTIONS DONE WITH

PURPOSE, Ma LICE, INTENT, WILLEULLY AND IN CONCER( BY THE FOLLOWING PUBLIC OFFICIALS
. AND PRIVATE INDIVIDUALS;

SANDRA PERKINS, DON MCDERMOTT, RICH WEYRICH, LISA JANIC KI, PETER

BROWNING, RON WESEN, ELIZABETH © GALLAGHAR, and ANN & RONALD FREEZE

REVOCABLE TRUST hereinafter, RESPONDENTS:

L This notice of Statement AFFIDAVIT is directed to: SANDRA PERKINS, DON
MCDERMOTT, RICH WEYRICH, LISA JANICKI, PETER BROWNING, RON

1 , , Common Law AFFIDAVIT/DECLARATION OF TRUTH
: .. . 2'4 Notice of Constitutional Violations,
Notice to Cease and Desist
Case 2:23-Cv-01135-JLR Document 41-1 Filed 03/20/24 Page 3 of 35

®

WESEN, ELIZABETH GALLAGHAR, and ANN & RONALD FREEZE REVOCABLE
TRUST. This AFFIDAVIT shall be considered sufficient lawful notice to the
RESPONDENTS herein named. AFFIDAVIY is hereby made pursuant to original ~
jurisdiction organic law and the units: States Constitution, specifically, the Bill of Rights, in
particular, Amendments I, IV, V, V2, VIL, IX, X and XIV and The Washington State
Constitution, in particular Artcle i, Sections I, Il, I, IV, V, VI, VII, VI, X, XI, XXVII,
XXVITI, XXX, XXX and KXXXV.

Il. RESPONDENTS sworn response given under pain and penalty of perjury, in affidavit form,
specific to each and every point of the subject matter stated herein must be received within
ten (10) days after RESPONDENTS’ receipt of Freeze’s AFFIDAVIT. Any other teply not
confottning to Section II of this AFF IDAVIT, regardless to subject matter shall be considered
false, fraudulent and a nonreply. RESPONDENTS failure to respond point by point and item
by item to the facts presented in this sworn AFFIDAVIT, shall stipulate by virtue of tacit
assent that RESPONDENTS accept statements as stated by Freeze as fact.

Ill. This AFFIDAVIT/DECLARATION OF TRUTH, stating-violation of laws for Infringement
of Constitutionally secured Rights and Denial of Life, Liberty and the pursuit of Happiness of
Freeze, in Common Law protected by the united States and Washington State Constitutions is
directed to: SANDRA PERKINS, RICH WEYRICH, DON MCDERMOTT, ‘FREEZE
REVOCABLE TRUST’, and ELIZABETH GALLAGHAR, hereinafter, RESPONDENTS,

IV. NOTICE to all RESPONDENTS:
The following AFFIDAVIT and NOTICE OF DEFAULT is not intended to injure, defraud,
coerce, threaten, to intimidate or io deceive, any insurer, one or all RESPONDENTS into
compliance. Please answer to the Allegations according to your standing and to your truth
ander the “Flag of Peace”. , 7 -

V. NOTICE toallRESPONDENTS:
RESPONDENTS agtee by virtue of tacit assent that RESPONDENT Elizabeth Gallaghar and
RESPONDENT FREEZE REVOCABLE TRUST have committed the following crimes that
have infringed on Freeze’s God-given sights: RACKETEERING (RICO), CRIMINAL
CONSPIRACY, VIOLATION OF RIGHTS UNDER: COLOR OF LAW, TITLE 18 USC.
1038'- FALSE INFORMATION AND HOAXES, TITLE 18 U.S.C. 1001 - STATEMENTS OR
ENTRIES GENERALLY, TITLE 18 U.S.C. SECTION 1512B - ENGAGES IN MISLEADING
CONDUCT. TITLE 42 - U.S.C. SECTION, 1983 - CIVIL RIGHTS ACTION FOR
DEPRIVATION OF RIGHTS, FITLE 42 U.S.C. SECTION 1985 (3). - CONSPIRACY TO
INTERFERE. WITH CIVIL RIGHTS, ‘TILE 42 U.S.C. 2000A (A). CIVIL RIGHTS ACT OF
1871, 42 U.S.C. 1985, DISCRIMINATION, DEPRIVATION OF RIGHTS, ACTING UNDER
COLOR OF ANY LAW; HARASSMENT, INTIMIDATION, COERCION, HUMAN
RIGHTS VIOLATION, FRAUD AND FALSE . STATEMENTS, CIVIL RIGHTS
VIOLATION, EMBARASSMENT, hezeinafter, CRIMES and punished Freeze without due
process in absence of any actual crime against life, liberty, or property.
All the Previous affidavits are included as part of the whole of this document.

NOTICE OF CERTAIN FACTS:

2 Common Law AFFIDAVIT/DECLARATION OF TRUTH
24 Notice of Constitutional Violations,
Notice to Cease and Desist
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 4 of 35

1. Onor about December 2016 and May 2017 Sandrz Perkins sent TRUST several compliance
complaints which the claimant addresssc with vous employee.

2. Onor about March 22, 2017, Freeze entered mro un agreement with Skagit Code Compliance Office,
hereinafter Agreement, to make property locazed at 4602 and 4606 Moen Rd, Concrete Washington
hereinafter, Property compliant to Skagit cows.

3, Since Skagit Code Compliance Agreement, was made several events beyond the control of Freeze have
occurred. Weather, Skagit Code Compliance Office’s failure to have officers to fulfili title
requirements, Sheriff's inability to process abandoned vehicle titles quicker hereinafter, Events.

4, Freeze has made a timely and progressive effort to complete his part of the Agreement.

5. Freeze continues to this day to remove vehicles in a timely manner working with and around Events.

6. Freeze denies that he has failed to continue to fulfil his promise to become compliant mentioned in
the Agreement. . :

7. RESPONDENTS Elizabeth Gallaghar and TRUST. are in a civil dispute with Freeze over ownership
of this property. .

8, On or about November 15, 2021 RESPONDENTS worked in concert to trespass, acting in fraud, to
deprive and infringe on Exic’s 4* Amendment rights, to be secure in their persons, houses, papers, and
effects, against unreasonable searches and seizures, shall not be violated. |

9. Furthermore, on or before November 15, 2021, Respondents did collude and work in concert to
unlawfully Break and Enter, Vandalize and: Burgiarize, Eric’s home for the. specific purpose of
committing fraud, theft, vandalism, to Burglarize, violate Eric’s Constitutional rights, and damage to
Etic’s house and remove his possessions. © . eo a

10. On, before or about November 15, ‘2021; In an attempr to force Eric from his home,
RESPONDENTS colluded to intimidate, harass, libel, slander, coerce and embarrass Eric by changing
the locks on Eric’s house that he was born in, and ‘lived in for 34 years, preventing Eric access to his
home by domestic terrorism and criminal conspiracy. ,

11. On, before or about November 15, 2021 RESPONDENTS did conspire to commit Burglary, steal
Eric’s phone, damaging this valuable property, an heirloom of Exic’s Dad and plot with aforethought
of malice and intent did commit these crimes for profit.

12. When the sheriff Don McDermott or Prosecuting attorney Rich Weyrich failed to file a criminal report
ot arrest the known criminal I am forced to alert you elected officials that crimes have been committed
in Skagit county...

13. On or about Decernber 13, 2021, Freeze filed a Lis Pendens, 202112130090, on all Property. As stated
in this Common Law Lis Pendens, all words, tetms, and phrases as written in this document are to be
clarified and defined only by Freeze or his representative. a

14. On or about January last year you were seat an Affidavit of Truth, via Certified Mail,
7020316000017233427 4, you are in default. You have also failed to report these crimes as specified, 18
U.S. Code'§ 4: As an official, your negligence lias damaged me. |

15. Your attempts to.now remove any of my property from this Propetty without my approval is theft and
I will suit. Cease and desist all unlawful actions against me.

Qualified Statement of Fact, this Lis Pendens, Skagit County Auditor record number 202112130090, is

filed on all real estate, all buildings, all equipment, all contents, all merchandise, all vehicles and any items

above or below the land: See: Notice is giveti... che meaming of all words, terms, and phrases are to be

clarified and defined only by Exic Freeze... page 5-

3 : . Common Law AFFIDAVIT/DECLARATION OF TRUTH
: 2°4 Notice of Constitutional Violations,
Notice to Cease and Desist
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 5 of 35

Sufficient Lawful notification has beea pxvided to RESPONDENTS Skagit County Sheriff,
DON MCDERMOTT, Skagit County Prosecutor, RICH WEYRICH, SANDRA PERKINS, SKAGIT
CODE COMPLIANCE, LISA JANICKi. ORTOR BROWNING, RON WESEN, stating that
RESPONDENTS must rebut the statements, charges and averments made in this AFFIDAVIT Pursuant
to this Notice. Should anyone other than Freeze attempt'ty remove any item from Property, Freeze will

press criminal charges against the perpeirator(s} for theft, unlawful criminal trespass, possession of
stolen property, Violation of Oath of OFF ICE; RACKETEERING (RICO), CRIMINAL CONSPIRACY,
VIOLATION OF RIGHTS UNDER COLOR OF LAW, HARASSMENT, INTIMIDATION, and
COERCION. If RESPONDENTS disagree with anything stated in this AFFIDAVIT, they must rebut point
by point, all statements of fact stated herein with an Affidavit given uinder.Pain and Penalty of Perjury, within
(10) ten business days of receipt thereof. Any other.teply, partial or complete not conforming to Section II
of this affidavit, regardless of subject matter is to be considered false and a nonreply. An unrebutted affidavit
stands as truth and faci before any court: :- .

1. Freeze demands RESPONDENTS to-immediately cease and desist their unlawful CRIMES,
actions, discriminations, threats, harassment and deprivation of Freeze’s rights and privileges.

2. Total-Offer voids without notice of intent or full payment. -

3. As aresult of nonresponse by RESPONDENTS to this AFFIDAVIT, RESPONDENTS agree that
any enjoinment of third parties by RESPONDENTS or unsolicited volunteers not presently listed
as a RESPONDENT in this AFFIDAVIT, will immediately be included in this matter as co-
conspirators, liable for the full amount of cure and be responsible for all affidavits priot, current and .
future presented to RESPONDENTS.

OFFER TO CURE

Cease and desist unlawful actions immediately. ©... o

Because of these numerous, various and sundry unlawful actions, infringements, of Eric’s rights,
privileges, liberties, and pursuit of happiness, and-attacks on Eric’s chatacter, Eric sends this invoice
settlement as-a third good faith settlement for’said- RESPONDENTS’ unlawful acts upon Eric Freeze for
$7,787,885.00 (Seven Million Seven Hundred Eighty Seven Thousand Eight Hundred Eighty Five eight
dollars) USD, hereinafter, Settlement, (in cryptocurrency or functional currency of the United States) for
payment to Contract Collection Trust hereinafter, CCT, at time and place.designated by Eric.

IF Total Cffer is not exercised BY RESPONDENTS:

e RESPONDENTS agtee to any jurisdictional venue, any estoppel, any form of encumbrance, lien,
garnishment, auction or action on all RESPONDENT'S bonds, property, and assets that Freeze
chooses, required to satisfy Offer to Cure untl the sum Total Offer of settlement damages,
penalties and interest, hereinafter; DAMAGES are collected by Freeze from each
RESPONDENT. Should this MATTER go to coust, RESPONDENTS agree to pay court costs,
any cost to negotiate and allow and pay Freeze’s assistance of counsel. _ .

4 f Common Law AFFIDAVIT/DECLARATION OF TRUTH
‘ _2°4 Notice of Constitutional Violations,
Notice to Cease and Desist
Case 2:23-cv-01135-JLR Document 41-1 Filed.03/20/24 Page 6 of 35

® RESPONDENTS agree te cay o coramon a9

thousand dollars in functional currency of th

wneract penalty of $1000.00 (one
ed States) a day until Total Offer
is paid in rull, trom the dave of ongine! Notice of harassment, on or about
November 15, 2021.

e RESPONDENTS agree thax this contract is Nouce of Consent to Judgement, and
Lien of any personal property or surety.

s RESPONDENTS agree this consent supersedes any and all civil and or statute law
for filing or leaning of RESPONDENTS for damages against Freeze in
‘RESPONDENTS’ private, civil and or public capacity. Negotiations in the Shadow
of the Law will be accepted by RESPONDENTS. .

e Of this presentment take due.N otice and heed and govern yourself
accordingly. This FINAL EXPRESSION IN A RECORD is intended as a
complete and exclusive statement of the tefms of the agreement between the
parties.

# ALL RESPONDENTS AGREE to pay DAMAGES to Freeze if this Settlement
OFFER. is ignored. DAMAGES yet to be calculated to Freeze are due and payable
within 10 days. Any unpaid balance will accrue with interest calculated at rate of 5
% (Five percerit) interest compounded per annum, pro-rated monthly from the
date of original Notice of harassment, on or.apout November 15, 2021.

DEFINITIONS OF WORDS, TERMS, AND PHRASES! “. 2 =: -

The meanings of all word(s, term(s), and phrase(s) as written iri this document ate to
be defined only by Freeze or his representative, a flesh-and blood/sentient man and woman
and non-legal fiction entities acting by right of original common law jurisdiction.

It is agreed that receipt of payment for this hold harmless Settlement absolves
RESPONDENTS of any legal liability for any injuries or damage suffered by Freeze.
Settlement amount does not reflect total damages to. Freeze.

Affiant further sayeth naught. All Rights Resetved,

Sworn Statement patterned per 28 U.S.C. 1746 (1):
“T declare under pain and penaliy of perjury under the laws of the forganic) United
States of Ametica that the foregoing is ruc and correct. Executed on January 4, 2023.

With ‘All Rights Reserved,

4
. ep ; .
(Signature): C7 MAHL ba
X ‘3 TA =.
. Virig-Fteeze,

Affiant/Declarant, in propria

persona Lb iy. DE a D
“Dp

, a a ate
5 Common Law AFFIDAVIT/DECLARATION
SO 7 OF TRUTH
24 Notice of Constitutional Violations,
_ Notice to Cease and Desist

Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 7 of 35
EXHIBIT 12
NOTICE OF DEFAULT CERTirieD
“JUDGEMENT” OF UN-REBUTTED
AFFIDAVIT "
herein Bound / Attached and so named as

Affidavit(s)/Decia ration of Truth :

I, hereby Certify that on this;
The 25 day of March; on/or after the 22nd day following the date of
the Bound / Attached “Certifi ed Proof of Service” that was properly

served and dated’ -

the 2.3 25% day of. Janary (2022: Ext, bit to
the 47 day of. ]anners _, 2023;
the 4 day of viauuary _, 20-23;

the Ai/# day of, 20;
the W/#_ day of 20-7)

I hereby deciare by my Honor and under my Authority as one

of “we the peopie” and under the iaws of the United States of America

in that an affidavit un-rebutted in 21 days becomes the judgement.

3 . LL, Lo. : », fof.
Post Mailed inO bags CLE ty Lei itieziay by my hand

é i i Lp. . - “
. LE om . L . . A

Witness

Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 8 of 35

Notary Public as JURAT CERTIFICATE:
Washington State | a
Skagit County The United States of F ikmexice

On J, [36 [903 -____.before me,

a Notary Public, personally appeared Eric Freeze who proved to me on the basis of
satisfactory evidence to be the man whose Name is subscribed to the within attached
instrument and acknowledged to Me that he executed the same in his authorized
capacity, And that by his autograph(s) on the instrument the man executed, the
instrument known as

I certify under PENALTY OF PERJURY under the lawful laws of
Washington State that the foregoing paragraph is true and correct.
WITNESS my hand and official seal.

—_—_—.

yo oF

f° 4 “a = ‘ 7
Signature. nda Hk “de .
/ .

LINDA SUE FUSSELL
Notary Public
State of Weshington
Commission Number 2onazt 128
Commission Expires
09/23/2925
SSSI, Teron

of Notary / Jurat

os

seal.

Notice t6 agents is notice to principal, Notice to principal is notice to agent.
This is The End of this affidavit.
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 9 of 35

EXHIBIT 9®

Common. Law AFF IDAVIT; (DE CLARAT ION OF TRUTH
34 Notice of Constitutional Violations, -
Notice to Cure, Notice to Cease and Desist

Jointly and Severally to: ©. 7986 Renic Dr.
. ,  Sedro Woolley WA [98284]

Elizabeth Gallaghar, non-legal fiction person -. 70203 1 60000172333625

11 Depot Rd, ACUNA CEDAR PRODUCTS, INC.
Stratham, NH [03885], © Se ” (non-legal fiction person)
70203160000172332959. . ‘7906 Renic Dr,

Bret Sachter, non-legal fiction persor: © + * Sedro Woolley, WA: 98284

5413 Meridian Ave. N., Ste. A, Don McDermott, non-legal ficuon person

Seattle WA, [98103] 600 $ 3rd St #100,
70203160000172332898 Mi Vernon, WA [98273]

Paul W. Taylor, non-legal fiction person 702031600001 7233291128

20388 Eric Sx., Rich Weyrich, non-legal fiction person
Mount Vernon, WA, [98274] . Courthouse Annex”
702031600061 72232904 605 S. Third

FREEZE REVOCABLE TRUST, a legal Mount Vernon, WA [98273}

fiction entity, hereinafter, “TRUST,” 702031600001 7233291135

11 Depot Rd, , e ,

Stratham, NH [03885},
70203160000172332911

Jose Acuna, non-legal fiction person ‘

Sent Via Certified Returned Receipt and USPS t* Class Mail -

‘Hereinafter, RESPONDENTS.

I, Eric Freeze, a lawful man on the land, « sentient man (non-legal fiction entity/person),
hereinafter, Exic, possessing God-given unalienable Rights makes this ‘Common Law
AFFIDAVIT/DECLARATION ‘OF TRUTH Natice of Constitutional Violations, and
Notice to Cure, Notice to Cease and Desist’, hereinafter, AFFIDAVIT, declares under pain
and penairy of per ary under the laws of the organic united States of America and of the
organic State. of Washington fnot to be confused with any legal
fiction/ccrporate/ governmental entities} thet | am of iegal age and sound mind and hereby
attests that the statements, averments and information contained in this AFFIDAVIT are true

and correct. Eric was bom on Property outlined in Exhibit A, hereinafter, Property. Eric has
had a valid contract with TRUST since 2008.

i. This Affidavit/ Declaration of Truth shall | be considered sufficient lawful notice to
the parties herein named. Said affidavit is hereby made pursuant to Original
Jurisdiction Organic Law and the United States Constitution, specifically, the Bill
of Rights, in particular, Amendments I, IV, V, V1, VU, IX, X and XIV and The
Washington State Constitution, in particular Article 1, Sections 1, 2, 3, 4, 5, 6, 7,8,

i so Common Law-AFFIDAVIT/ DECLARATION OF TRUTH
, ‘34 Notice of Constitutional Violations.
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 10 of 35

10, 11, 27, 29, 30, 32 and 35. Article 9 section 1 - Education Preamble, Article 9
section 4 - Sectarian control of influence prohibited.

Il. RESPONDENTS sworn response given under pain and penalty of perjury specific
to each and every point of the subject matter stated herein must be received within

- (10) ten days after RESPONDENTS receipt of Ewing's affidavit. Any other reply

not conforming to Section II, regardless to subject matter is to be considered false
and a nonreply. RESPONDENTS failure to.respond point by point and item by
item to the facts presented in this A ffidavit/Declaration, shall stipulate by virtue of
tacit assent that RESPONDENTS accept statements as stated by Ewing as fact.

Ill. This AFFIDAVIT for Infringement of-Constitutionally secured Rights arid Denial
of Life, Liberty and the pursuit of Happiness in Common.Law protected by the
united States and Washington State Constitutions is directed to:

‘FREEZE REVOCABLE TRUST’, Elizabeth Gallaghar, Bret Sachter, Paul W. Taylor, Jose
Acuna, ACUNA CEDAR PRODUCTS, INC., Don McDermott, and Rich Weyrich.

IV. NOTICE to all DEBTORS and or RESPONDENTS:

The following AFFIDAVIT and NOTICE OF DEFAULT is not intended to
injure, defraud, coerce, threaten, to intimidate or to deceive, any insurer, one
or all the Debtors into compliance. Please answer to the Allegations
according to your standing and to your truth under the “Flag of Peace”.

V. NOTICE to all DEBTORS and or RESPONDENTS: .
RESPONDENTS agree by virtue of tacit assent that RESPONDENTS have
committed the following crimes that have infringed on Eric’s God-given rights:
DISCRIMINATION; DEPRIVATION OF RIGHTS, RACKETEERING
(RICO), ACTING UNDER COLOR OF ANY LAW, DERILICTION of
DUTY, VIOLATION OF OATH of OFFICE, MASQUERADING AS
PUBLIC OFFICIALS, HARASSMENT, PERJURY, INTIMIDATION,
DOMESTIC TERRORISM, SUBORNATION OF PERJURY, COERCION,
HUMAN RIGHTS VIOLATION, FRAUD AND FALSE STATEMENTS,
CIVIL RIGHTS VIOLATION, MALFEASANCE OF OFFICE, MISPRISION
OF FELONY, OFFICIAL MISCONDUCT, CRIMINAL CONSPIRACY,
SEDITION AND INSURRECTION, BAD FAITH CLAIMS,
EMBARASSMENT, HUMILIATION, LIBEL and SLANDER hereinafter,
CRIMES and punished Eric without dué process in absence of any actual crime
against life, liberty, or property. ,

2 - Common Law AFFIDAVIT/DECLARATION OF TRUTH
. 3rd Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 11 of 35

. All RESPONDENTS ate in default of Common Law AFFIDAVIT
{DECLARATION OF TRUTH Notice of Constitutional Violations,

Notice to Cure, Notice to Cease and Desist, hereinafter, Affidavit. 22, dated‘
December 13, 2021, and agree that RESPONDENTS failed to answer, respond or
comply with section II. Of Affidavit 22.

. On or about January 15, 2022, All RESPONDENTS received Common Law
AFFIDAVIT/DECLARATION OF TRUTH Notice of Constitutional
Violations, Notice to Cure, Notice to Cease and Desist, hereinafter, Affidavit 33,
dated January 5, 2022. .

. All RESPONDENTS are in default of Affidavit 33, and agree that
RESPONDENTS failed to answer, respond or complywith section Il. of Affidavit
33.

. All RESPONDENTS agreed by tacit consent that Eric’s Common Law
AFRFIDAVITs/ DECLARATION OF TRUTH received by RESPONDENTS on
or after December1 4th, 2021 are truthful and correct.

. On or about November 29%, 1986, Ronald L. Freeze and Ann G. Freeze appointed
Peter G. Freeze of Concrete Washington as their true and lawful atrorney and
gtanted Peter G. Freeze GENERAL POWER OF ATTORNEY in relation to the
property located at 4602 and 4606 Moen Rd, Concrete Washington hereinafter,

Property.

. On or before November 2021, Peter G. Freeze bequez athed said Property to Eric
Freeze.

. On ot about November'15, 2021, Eric arrived home to find his home vandalized,
broken into and the door locks completely changed. . .

. On ot about or after November 16, 2021, Eric notified the Skagit County Sheriff
that his home had been broken into, vandalized, and theft had.occurred, and the
door locks removed and. changed to. new lock of which Eric was not given keys.

. On ot about ot after November 16, 2021, Skagit County Deputy: Sheriff Mullen
told Eric that the perpetrator of the crimes committed against him was Jose Acuna,

and that Skagit County Deputy Sheriff Mullen talked with Elizabeth Gallaghar, who
verified that she hired Jose Acuna to break and enter Enic’s home and change the locks, and if
Eric needed any personal i items from the home, he could get the key from Jose Acuna.

Common Law AFFIDAVIT/DECLARATION OF TRUTH
3rd’ Notice of Constitutional Violations,
Notice to Cure, Notice to. Cease and Desist
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 12 of 35

10. All previous affidavits are included as part of the whole of this document. Via
Registered, Certified, return Receipt, cr USPS Mail, 70203160000172332027,
70203160000025999704, 70203160000025999698, 702031 60000172332041,
70202450000226906689, 70202450000226906596, 702031 60000172332034

11. On or. after December 16, 2021, acting Sheriff Don McDermott is in dereliction of
his duty and violated his‘oath of Office for:

a. becoming complicit by working in concert with RESPONDENTS as
CRIMES continued and ee
b. failing to arrest Jose Acuna for trespass, breaking and entering and theft
c. for failing to investigate, act Upon OF report Federal CRIMES to a supetior
authority or report said CRIMES to a Superior Court Judge.
d. Misprison of Felony co
e. Disregarding Enic’s report of vandalism, theft and trespass
£ All CRIMES , .
42. On or after December 16, 2021, acting Prosecuting “Attorney Rich Weyrich is in
dereliction of his duty and violated jis oath of Office for: :
a. becoming complicit by working in concert with RESPONDENTS as
CRIMES continued and | ve .
b. failing to indict Elizabeth Gallaghar for conspiracy to hire for criminal conspiracy,
c. failing to.indict Jose Acuna for trespass, breaking and entering, theft,
violation of Eric’s 4 Amendment Rights, Fraud and vandalism.
‘d. for failing to investigate, act Upon OF report Federal CRIMES to a superior
authority or repart said CRIMES to,a Superior Court Judge
e. Misprison of Felony
f All CRIMES

43. In regard to all actions to remove Eric from Property, undertaken by .
RESPONDENTS, Eric denies the RESPONDENTS’ statement that Eric was allowed
due process, or was allowed a lawfal timely manner to respond. |

14. Bric states that every correspondence from RESPONDENTS was answered ina lawful
timely manner.

15. Eric rebuts arid-disagrees with'every claim RESPONDENTS has made against hirn as
false staternents. The RESPONDENTS have declared False Claims.

16. RESPONDENTS agree that Eric has responded to every correspondence in a lawful
timely manner. Do

Common Law AFFIDAVIT/DECLARATION OF TRUTH
: 3rd Notice of Constitutional Violations,
- Notice to Cure, Notice to Cease and Desist
“

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17. On or about December 13, 2021, Eric filed a Lis Pendens, 2021121 30090, on all
Property. As stated in this Common Law Lis Pendens, all words, terms, and phrases as
written in this document are to be clarified and defined only by Exic or his
representative. . -

Statement of Fact; this Lis Pendens, Skagit County Auditor record number 202112130090,
is filed on all real estate, all buildings, all equipment, all contents and all merchandise. See
LAWFUL NOTICE page 6. © a ,

18. Due to the RESPONDENTS’ unlawful actions Eric intends to lien the Property in
question for $740,876.00 for Eric’s, claims, interest and work performed. TRUST
and or RESPONDENTS have violated contract with Eric.

°

19, RESPONDENTS rejected Enic’s 1* good faith offer to cure in the original
| Affidavit dated December 13, 2021, and sent to RESPONDENTS, but agreed by

tacit assent, “ If this reduced offer is not accepted, RESPONDENTS agrees the
full damage is due and payable to Eric. Settlement amount does not reflect
total damages to Eric.”

20. RESPONDENTS rejected Eric’s 2°¢ good faith offer in Affidavit 22 dated January
5, 2022, for $2,222,628.99 in functional currency of the United States.

21. Therefore, RESPONDENTS shall pay Total Damages to Eric as agreed in Item
17 of this AFFIDAVIT copied from original Affidavit dated December 13, 2021.

Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully subjects:
any person in any State, Territory, Commonwealth, Possession, or District to the deprivation
of any rights, privileges, or immunities secured or protected by the Constitution or laws of
the united States, or to different punishrnents, pains, or penalties, on account of such person
being an alien, or by reason of his color, or race, than are prescribed for the punishment of
citizens, shall be: fined under this title or imprisoned not more than one year, OF both; and if
bodily injury results from the acts cofnmitted in violation of this section or if such acts
include the use, attempted use,.or threatened use of a.dangerous weapon, explosives, or fire,
shall be fined under this title or imprisoned rot more than ten years, or both. -

Asa result of nonresponse by RESPONDENTS to this AFFIDAVIT, RESPONDENTS agree
that any enjoinment of third parties: by RESPONDENTS or unsolicited volunteers not
presently listed as a RESPONDENT in this AFFIDAVIT, will immediately be included in this
matter as co-conspirators, liable for the full amount of cure and be responsible for all affidavits
prior, current and future presented to RESPONDENTS. .

5 Common Law AFFIDAVIT/ DECLARATION OF TRUTH

- 3rd Notice of Constitutional Violations,
‘Notice to Cure, Notice to Cease and Desist
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LAWFUL. NOTICE
Sufficient Lawful notification has been. provided 10 Skagit County Sheriff, Don
McDermott, Skagit County Prosecutor, Rich Weyrich and RESPONDENTS. ANY
ATTEMPT TO TRESPASS, REMOVE, SMUGGLE, DAMAGE, DESTROY, STEAL or
CONSPIRE TO DEPRIVE Eric of the items outlined but,not limited to those in item 17,
Statement of Fact; will have the charges of TRESPASS, THEFT, POSSESSION OF |
STOLEN PROPERTY, RACKETEERING, and all CRIMES previously listed, filed against
them. pS

. OFFER TO CURE
Eric makes this good faith 10 (ten) day Total Offer to Cure.

Therefore, Eric submits this invoice for, but not limited to; ACTING UNDER COLOR OF
LAW, failure to Cease and Desist unlawful actions, violation of Eric’s 4th Amendment
Rights, RICO, TRESPASS, FRAUD, DOMESTIC TERRORISM, CRIMINAL CONSPIRACY,
HARASSMENT, PERJURY, INTIMIDATION, $i ANDER, fees, and expenses to Eric.
RESPONDENTS agtee to make full payment, at time and place designated by Eric.

Total Offer. Because of these numerous, various and sundry unlawful actions,
infringements, of Eric’s rights, privileges, libérties, and pursuit of happiness, and attacks
on Erie’s character, Eric sends this invoice to cure as a second good faith settlement for
said RESPONDENTS’ unlawful acts upon Eric Freeze for $7,787,8°5.00 Seven Million
Seven Hundred Eighty Seven’ Thousand Bight Hundred Eighty Five eight dollars) USD
(in functional currency ot the United States) for payment to Contract Collection Trust
hereinafter, CCT, at time and place designated by Eric.

It is agreed that receipt of payment for this Total Offer, hold harmless Settlement
absolves RESPONDENTS of any legal liability for any injuries or damages suffered by
Eric. Total Offer amount reflects damages to Eric. This good faith settlement offer is
only valid for the next 10 days from receipt of this AFFIDAVIT. RESPONDENTS

shall pay in full Total Offer to Cure, within ten (10) days of receipt of AFFIDAVIT.
Total Offer voids without notice of intent or full payment.

RESPONDENTS agreed by tacit assent and default of December 13%, 2021, Common
Law AFFIDAVIT/DECLARATION OF TRUTH to pay the full amount of damages to
Eric within 10 days of receipt-of this AFFIDAVIT, with interest calculated at rate of 3.5
% (three and 1/2 percent).compounded per annum, prorated monthly starting December
13, 2021 on any and all unpaid damages to Exc. ,

CORRESPONDENCE
6 ° , . Common Law AFFIDAVIT/DECLARATION OF TRUTH
: 3rd Notice of Constitutional Violations,

Notice to Cure, Hotice to Cease and Desist
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 15 of 35

Should RESPONDENTS elect to settle wits paymeixt of functional currency of the United
States, Make Cashiet’s check payable to: Contract Collection Trust
Place of payment: P. O. Box 119, Burlington, WA 98233
Time of payment: Within 20 days ofreceiptofthis AFFIDAVIT.
Should this offer be rejected, BY RESPONDENTS:

e RESPONDENTs agree to any form of encumbrance, lien, garnishment, auction
or action on and of all RESPONDENT'S borids, property, and assets, required to
satisfy Offer to Cure until the sum total damages and interest is collected by Eric
from each RESPONDENT, : .

-@ RESPONDENTS agree. that this contract is Notice of Consent to Judgement,
and Lien of any personal property or surety and this consent supersedes any and
ali civil and or statute law for filing or leaning RESPONDENTS for damages
against Eric in RESPONDENTS’ private, civil and or public capacity.

¢ Of this presentment take due Notice and heed and govern yourself
accordingly. This FINAL EXPRESSION IN.A RECORD is intended as a
complete and exclusive statement of the terms of the agreement between the -
partes.

CONCLUSION ©

Sufficient Lawful notification has been provided to Skagit County Prosecutor,
Rich Weyrich, Sheriff Don McDermott and all RESPONDENTS stating that
RESPONDENTS must rebut these statements, charges and averments made in this
AFFIDAVIT. Pursuant to this Notice, if RESPONDENTS disagree with anything stated
in this AFFIDAVIT, they must rebut point by point with an.affidavit given under Pain
and Penalty of Perjuty, within (10) ten days of receipt thereof. Any other reply not
conforming to Section II of this AFFIDAVIT, regardless to subject matter is to be
considered falsé and a nonreply to this AFFIDAVIT. RESPONDENTS shall Cease and
Desist all unlawful actions against Eric. eT

An unrebutted affidavit stands as truth and fact before any court. Eric’s
constitutionally protected rights have been severely infringed because RESPONDENTS
have willfully; knowingly, worked im concert, in a pattern and practice to unlawfully
prevent Eric from pursuing Eric’s constitutionally protected right to provide for himself.
These rights have been severely curtailed because RESPONDENTS have unlawfully
imposed unconstitutional demands whereupon RESPONDENTS have jointly agreed to
infringe Exic’s rights by FRAUD to the détriment of Eric. RESPONDENTS have
violated Eric’s rights uc :

RESPONDENTS’ failure to respond, as stipulated, is your tacit agreement with
and admission to the fact that everything in this AFF IDAVIT is true, correct, legal, lawful,

7 . Common Law AFFIDAVIT/DECLARATION OF TRUTH
3rd Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 16 of 35

and is your irrevocable admission attesting w tus, fully binding upon you in any court of
law in America, without your protest, objection and that of those who represent you.

1. The Definitions, meanings of all word(s), term(s), and phrase(s) as written in
this document are to be defined only by Etic ot his representative, acting by Right
of otiginal common law jutisdictién. Any definitions or explanations must be
requested in writing and will be answered in a timely manner. Requests for definitions
shall not delay or extend the time given to respond to this AFFIDAVIT: Affiant
further sayéth naught. Ail Rights Reserved,

Sworn Statement patterned per 28 U.S.C. 1746 (1): ; : v«
“] declare under pain and penalty of perjury under the laws of the (organic) United
States of America that the foregoing is true and correct. Executed on January 28, 2022.
. With All Rights Reserved,

Cite v7 CLG, " 2
(/ sétant/Declarant, in propria persona
UCC 1-308 without prejudice

‘Cantiany 28, Baza

Date

‘Common Law AFFIDAVIT/DECLARATION OF TRUTH
2° Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist

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HT
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Common Law AFFIDAVIT / DECLARATION OF TRUTH
Notice of Constitutional Violations, Notice to Cease and Desist
... WITHOUT DISHONOR
Via Certified and 1* Class USPS Mail

_ Dated February 4, 2023
Eric Freeze, hereinafter, Claimant
Mail Address: P. O. Box 119
Burlington, within the organic County of Skagit
The State of Washington [98233]
The united States of America
Ann & Ronald FREEZE REVOCABLE

SKAGIT CODE COMPLIANCE OFFICER TRUST, hereinafter TRUST a legal fiction
Sandra Perkins 70220410000082312101 entity,
1800 Continental Place 11 Depot Rd,
Mount Vernon WA 98273 Stratham, NH (03885),
Jointly and severally to:
Elizabeth Gallaghar, a sentient woman, County of Skaght’
11 Depot Rd, . 1800 Continental Pl

Stratham, NH {03885} + Mount Vernon W. A98273

Hereinafter, RESPONDENTS, - a

i, Eric Freeze, 2 sentient man (non-legal fiction entity / person), hereinafter, Freeze, possessing God-
given unalienable Rights makes this ‘Common Law AFFIDAVIT/ DECLARATION OF TRUTH Notice
of Constitutiona! Violations, and Notice to Cease ana Desist, hereinafter, AFF IDAVIT, declares under pain
and penalty of perjury under the laws of the organic United States of America and of the organic State of
Washington [not to be confused with any legal fiction/ corporate/ governmental entities] that I am of legal
age and sound mind and hereby attests that the statements, averments and information contained in this
AFFIDAVIT are true and correct to the best of my knowledge.’ Eric was born on Property outlined in
NOTICE OF CERTAIN FACTS, 1.(PAGE 2.) hereinafter, Property. Freeze has had a valid contract with TRUST
since 2008.

THROUGH SERIAL ACTS OF NEGLIGENCE, FRAUDULENT PRACTICES AND ACTIONS DONE WITH
PURPOSE, MALICE, INTENT, WILLFULLY AND IN CONCERT BY THE FOLLOWING PUBLIC OFFICIALS
AND PRIVATE INDIVIDUALS;

SANDRA PERKINS, DON MCDERMOTTY, RICH W’ EYRICH, LISA JANICKI, PETER
BROWNING, RON WESEN, ELIZABETH GALLAGHAR, and ANN ‘& RONALD FREEZE
REVOCABLE TRUST hereinafter, RESPONDENTS.

1. This notice of Statement AFFIDAVIT is directed to. SANDRA PERKINS, DON
MCDERMOTT, RICH WEYRICH, LISA JANICKI, PETER BROWNING, RON

1 Common Law AFFIDAVIT/DECLARATION OF TRUTH
° . ; 2" Notice of Constitutional Violations,
Notice to Cease and Desist

4

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WESEN, ELIZABETH GALLAGHAR, and ANN & RONALD FREEZE REVOCABLE

TRUST. This AFFIDAVIT shal he considered sufficient lawful notice to the

RESPONDENTS herein named. 4° SIDAVIL is nereby made pursuant to original

jurisdiction organic law and the unite? Stares Constitution, specifically, the Bill of Rights, in

particular, Amendments 1, IV, V, Vi, VU, IX, X and XIV and The Washington State
Constitution, in particular Article I, Sections I, 1, Ul, IV,,.V, VI, VU, VIU, X, XI, XXVII,
XXVIII, XXX, XXXII and XXXV5

I. RESPONDENTS sworn response given under pain and penalty of perjury, in affidavit form,
specific to each and every point of.the subject matter stated herein must be received within
ten (10) days after RESPONDENTS?’ receipt of Freeze’s AFFIDAVIT. Any other reply not
conforming to Section II of this AFF IDAVIT, regardless to subject matter shall be considered
false; fraudulent and a nonreply. RESPONDENTS failure to respond point by point and item
by itém to the facts preserited in this sworn AFFIDAVIT, shall stipulate by virtue of tacit
assent that RESPONDENTS accept statements as stated by Freeze as fact.

III. This AFFIDAVIT/DECLARATION OF TRUTH, stating violation of laws for Infringement
of Constitutionally secured Rights and Denial of Life, Liberty and the pursuit of Happiness of
Freeze, in Common Law protected by the anited States and Washington State Constitutions 1s
directed to: SANDRA PERKINS, RICH WEYRICH, DON MCDERMOTT, ‘FREEZE
REVOCABLE TRUST’, and ELIZABETH GALLAGHAR, hereinafter, RESPONDENTS,

TV. NOTICE to all RESPONDENTS: .
The following AFFIDAVIT and NOTICE OF DEFAULT is not intended to injure, defraud,
coerce, threaten, to intimidate or to deceive, any insurer, one or all RESPONDENTS into
compliance. Please answer to the Allegations according to your standing and to your truth
under the “Flag of Peace”. > oO

V. NOTICE to all RESPONDENTS: : ‘
RESPONDENTS agtee by virtue of tacit assent that RESPONDENT Elizabeth Gallaghar and
RESPONDENT FREEZE REVOCABLE TRUST have committed the following crimes that
have infringed on Freeze’s God-given rights: RACKETEERING (RICO), CRIMINAL
CONSPIRACY, VIOLATION OF RIGHTS UNDER COLOR OF LAW, TITLE 18 USC.
1038--FALSE INFORMATION AND HOAXES, TITLE 18 US.C. 1001 - STATEMENTS OR
ENTRIES. GENERALLY, ‘TITLE 18 U.S.C. SECTION 1512B - ENGAGES IN MISLEADING
CONDUCY!. TITLE 42 - U.S.C. SECTION 1983 - CIVIL RIGHTS ACTION FOR
DEPRIVATION OF RIGHTS, TITLE ‘42 U'S.C. SECTION 1985°@) - CONSPIRACY TO
INTERFERE WITH CIVIL.RIGHTS, TLE. 42 U.S.C. 2000A (A). CIVIL-RIGHTS ACT OF
4871, 42 U.S.C. 1985, DISCRIMINATION, DEPRIVATION OF RIGHTS, ACTING UNDER
COLOR OF ANY LAW, HARASSMENT, INTIMIDATION, COERCION, ‘HUMAN
RIGHTS’ VIOLATION, FRAUD AND FALSE STATEMENTS, CIVIL RIGHTS
VIOLATION, EMBARASSMENT, hereinafter, CRIMES and punished Freeze without due
process in absezice of any actual crime against life, liberty, or property.

All the Previous affidavits are included as part of the whole of this document.

NOTICE OF (CERTAIN FACTS:

2 Common Law AFFIDAVIT/DECLARATION OF TRUTH
2"4 Notice of Coristitutional Violations,
Notice to Cease and Desist
_ Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 19 of 35

1. On or about December 2016 and May 2517 Savcez Purkuns sent TRUST several compliance
complaints which the claimant addressed with your CLAPIOVEE. :

2. On or about March 22, 2017, Freeze entered intc an agreement with Skagit Code Compliance Office,
hereinafter Agreement, to make property located at 4602 aud 4606 Moen Rd, Concrete Washington
hereinafter, Property compliant to Skagit code.

3. Since Skagit Code Compliance Agreement, was made several events beyond the control of Freeze have
occurred. Weather, Skagit Code Compliance Office’s failure to have officers to fulfill utle:
requirements, Sheriff's inability to process abandoned vehicle titles quicker hereafter, Events.

4. Freeze has made a timely and progressive effort to complete his part of the Agreement.’

5. Freeze continues to this day to remove vehicles in a timely manner working with and around Events.

6. Freeze denies that he has failed to continue to fulfil his promise to become compliant mentioned in
the Agreement. .e a

7, RESPONDENTS Elizabeth Gallaghar and TRUST are in a civil dispute with Freeze over ownership
ofthis property. a oe

8. On or about November 15, 2021 RESPONDENTS worked in concert to trespass, acting in fraud, to
deprive and infringe on Ertc’s 4* Amendment rights, to be secure in their persons, houses, papers, and
effects, against unreasonable searches and seyzures, shall not be violated.

9. Furthermore, on or before November 15, 2021, Respondents did collude and work in concert to
unlawfully. Break and Enter, Vandalize and Burglarize, Eric’s home for the specific purpose of
committing fraud, theft, vandalisni, to Burglarize, violate Eric’s Constitutional rights, and damage to
Eric’s house and remove his possessions. es

10. On, before or about: November 15, 2021, in an attempt to force Eric from his home,
RESPONDENTS colluded to intimidate, harass, libel, slander, coerce and embarrass Eric by changing
the locks on Eric’s house that he was born in, and lived in for 34 yeats, preventing Eric access to his
home by domestic terrorism and criminal conspiracy. ©

11. On, before or about November 15, 2021 RESPONDENTS did conspire to commit Burglary, steal
Eric’s phone, damaging this valuable property, an heirloom of Eric’s Dad and plot with aforethought
of malice and intent did commit these. crimes for profit:

12. When the sheriff Don McDermott or Prosecuting attorney Rich Weyrich failed to file a criminal report
or atrest the known criminal I am forced to alert you elected officials that crimes have been committed
in Skagit county.

13. On or about December 13, 2021, Freeze filed a Lis Pendens, 202112130090, on all Property. As stated
in this Common Law Lis Pendens, lf words, terms, and phrases as written in this document are to be
clarified and defined only by Freeze or his representative. ”

14. On or about January last year you were sent an. Affidavit of Truth, via Certified Mail,
70203160000172334274, you are in default, ‘You have also failed to report these crimes as specified, 18
USS. Code § 4. As an official, your negligence has damaged me. '

15. Your attempts to now remove any of my property from this Property without my approval is theft and
I will suit. Cease and desist all unlawful actions against me.

Qualified Statement of Fact; this Lis Pendens, Skagit County ‘Auditor record number 202112130090, is
filed on all real estate, ail buildings, all equipment, all contents, all merchandise, all vehicles and any items
above or below the land. See: Notice is given... thé meaning of all words, terms, and phrases are to be
clarified and defined only by Eric Freeze... page 5.

3 , “Common Law AFFIDAVIT/DECLARATION OF TRUTH
: . 2" Notice of Constitutional Violations,
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Sufficient Lawful notification bas been. provided to RESPONDENTS Skagit County Sheriff,
DON MCDERMOTT, Skagit County Prosscator, %: WEYRICH, SANDRA PERKINS, SKAGIT
CODE COMPLIANCE, LISA JANICKI, PESER BROWNING, RON WESEN, stating that
RESPONDENTS must rebut the statements, charces and averments made in this AFFIDAVIT Pursuant’
to this Notice. Should anyone other than Frecze attempt to remove any item from Property, Freeze will
press criminal charges against the perpetrator(s) tor theft, unlawful criminal trespass, possession of
stolen property, Violation of Oath of OFFICE, RACKETEERING (RICO), CRIMINAL CONSPIRACY,
VIOLATION OF RIGHTS UNDER COLOR OF LAW, HARASSMENT, INTIMIDATION, and
COERCION. If RESPONDENTS disagree with anything stated in this AFFIDAVIT, they must rebut point
by point, all statements of fact stated herein with an Affidavit given under Pain and Penalty of Perjury, within
(10) ten business days of receipt thereof. Any other‘teply, partial or complete not,conforming to Section IT
of this affidavit, regardless of subject matier is to be'considered false and a nonreply. An unrebutted affidavit
stands as truth and fact before any court...

1. Freeze demands RESPONDENTS to immediately cease and desist their unlawful CRIMES,
actions, discrimiriations, threats, harassment and deprivation of Freeze’s rights and privileges.

2. Total Offer voids without notice of intent or full payment.

3. Aga result of nonresponse by RESPONDENTS to this AFF IDAVIT, RESPONDENTS agree that
any enjoinment of third parties by RESPONDENTS or unsolicited volunteers not presently listed
as a RESPONDENT in this AFFIDAVIT, will immediately be included in this matter as co-
conspirators, liable for the full amount of cure arid be responsible for all affidavits prior, current and
future presented to RESPONDENTS.

(OFFER TO.CURE: °

Cease and desist unlawful actions immediately. - ee .

Because of these numerous, various and sundsy: unlawful acticns, infringements, of Eric’s rights,
privileges, liberiies, and pursuit of happiness, and attacks qn Eric’s character, Eric sends. this invoice
settlement as a third good faith settlement for said RESPONDENTS’ unlawful acts upon Eric Freeze for
$7,787,885.00 (Seven Milbon Seven Hundred Eighty Seven,Thousand Fight Hundred Eighty Five eight
dollars) USD, heremafter, Settlement, (in cryptocurrency or functional currency of the United States) for
payment to Contract Coliéction Trust hereinafter, CCT, at time’ and piace designated by Eric.

IF Total Offer is not exercised BY RESPONDE NTS:

e RESPONDENTS agree to any jurisdictional venue, any estoppel, any form of encumbrance, lien,
garnishment, auction or action on ali RESPONDENT'S bonds, property, and assets that Freeze
chooses, required to satisfy Offer to Cure until the sum Total Offer of settlement damages,
penaltes.and interest, hereinafter, DAMAGES are callected by Freeze from each
RESPONDENT. Should this MATTER go to court, RESPONDENTS agree to pay court costs,
any cost to negotiate and allow and yay Freeze’s assistance of counsel.

4 a Common Law AFFIDAVIT/DECLARATION OF TRUTH
° Oo - 2"! Notice of Constitutional Violations,
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@ RESPONDENTS agtee to pay 2 corcmon law contract penalty ot $1 000.00 (one
thousand dollars in functional currency of the Unired States) a day until Total Offer
is paid in full, from the date o. origina! INouce of harassment, on.or about
November 15, 2021.

e RESPONDENTS agree that this contract is Notice of Consent to Judgement, and
Lien of any personal property.or surety. , ,

e - RESPONDENTS agree this cqusent supersedes any and all civil and or statute law
for filing or leaning of RESPONDENTS tor datnage’s against Freeze in.
RESPONDENTS’ private, civil and or public capacity. Negotiations in the Shadow
of the Law will be accepted by RESPONDENTS. 8 a

e Ofthis presentment take due Notice and heed and govern yourself.
accordingly. This FINAL:EXPRESSION IN-A RECORD. is intended as a
complete and exclusive statement of the terms of the agreement between the
parties. ,

© ALL RESPONDENTS AGREE to pay DAMAGES to Freeze if this Settlement
OFFER is ignored: DAMAGES yet to be calculated to Freeze are due and payable
within 10 days. Any unpaid bélance will accrue with interest calculated at rate of 5
% (Five percent) interest compounded per annum, pro-rated monthly from the
date of original Notice of harassment, on or about November 15, 2021.

DEFINITIONS OF WORDS, TERMS, AND: PHRASES:

The meanings of all word(s), term(s); and phrase(s),28 written in this document are to
be defined oniy by Freeze or his representative, a flesh and blood/sentient man and woman
and non-legal fiction entities acung by right of original common law jurisdiction. *

It is agreed that receipt of payment for this hold harmless. Settlement absolves
RESPONDENTS of any legal liability for any injuries or damage suffered by Freeze.
Settlement amount does not reflect total damages to Freeze. +

Affiant further sayeth naught. All Rights Reserved,
Sworn Statement patrerned per 28 U.S.C. 1746 (1):

“T declare under pain and penalty of perjury under the laws of the (organic) United
States of America that the foregoing is true and correct. Pxecuted on January 4. 2023.

* With All Rights Reserved,
)
a6. fo
eh
(Signature); ¢ Lek Le j; a
vv iG fant/ Declarant, 7 propia
vefsona . Wy / +,
LY REE
. . Z ! Date
5 Common Law AFFIDAVIT/DECLARATION
. oS , OF TRUTH

2°8 Notice of Constitutional Violations,
Notice to Cease and Desist
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Common Law AFFIDAVIT /DECLARATION OF TRUTH
34 Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist

Jointly and Severally to: = *

7906 Renic Dr.
Sedto Woolley WA [98284]
Elizabeth Gallaghss, non. leg fiction petson: 702031 60000172332928

11 Depot Rd,
Stratham, NH (03885),
70203160000172332959
Bret Sachter, non-legal fiction person
5413 Mendian Ave. N,, Ste. A,
Seattle WA, (98193)
70203169000172332898
Paul W. Taylor, non-legal Sction person.
20388 Eric St.,
Mount Vernon, WA, [98274]
702031600001 72332904

FREEZE REVOCABLE TRUST, 2 legal |

fiction entity, hereinafter, ‘TRUST,’
11 Depot Re,

ACUNA CEDAR PRODUCTS, INC.
(non-legal Sction person)

7906 Renic Dr,

_Sedrto Woolley, WA 98284

762031600001 72333635

Dona McDermott, non-lega: Setion person
600 S 3ed St #100,

Mt Vernon, WA [982731

792031600001 72332010

Rich Wevtich, non-legal ficdon person
Courthouse Annex

605 S. Third

Mount Vernon, WA [98273)

Stratham, NE! 1038851, 702031600001 72332935
a

702031600001 723329 11

Jose Acuna, noo-l:gal Getion person

Hereinafter, RESPONDENTS.
Sent Via Cemified Returned Recezp: and USPS 1" Class Mail

1, Erie Freeze, « lawful man on the jand, a sentient man (non-legal Sction entity/petson),
heveina fier, Enc, possessing God-given unalienable Rights makes this ‘Common Taw
AFFIDAVIT/DECLARATION OF TRUTH Notice of Constitutiona: Violations, and

. Notice to Cure, Notice t0 Cease and Desist’, hereinafter, AFFIDAVIT, declares under pain
and pettalty of perjury under the laws of the organic united States of America and of the
organic Srate of Washington jmot tc be -confused with any legal
fiction/sorporate/governmental entities] that I am of legal age and sound minc and hereby
attests that the staternents,. avermients af ad information contained in this AFFIDAVIT are true
and correct, Eric wes born on Property outlined in Exhibit A, hereinafter, Property. Eric has
had a valid contract with TRUST since. 2908.

A. “This Ar fEidawvit/ Declaration of Trath shall be co: nsidered sufficient jaw Ail nonce to
, the partes herein, named. Seid affidavit is hereby made pursuant to Original
juvtisdi diction Organic Law and the United States Constiunon, specifically, the Bul

of Rights, { in particular, Armendments 1, [V, V, V1, VE, LX, X and XTV and ‘The

>

Common Law AFFIDAVIT/DECLARATION OF TRUTH
3° Notice of Constitutional Violations,
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IL.

Washington State Consticutio, ic particular Article 1, Sections 1, 2, 3, 4, 5, 6, 7, 8
10, 11, 27, 29, 30, 32 and 35. Anicle % section 1 - Education Preamble, Article 9
section 4 - Sectarian conctol of induence erohibited.

RESPONDENTS swomm response given ander pain and penalty 0 of perjury specific
to each and every point of the subject matter stated herein must be received within
(10) ten days after RESPONDENTS teceipt of Ewing’s affidavit. Any other reply
not conforming to Section II, regardless to subject matter is to be considered false

. and a nonreply. RESPONDENTS failure to respond point by point and item by

item to the facts presented in this Affidavit/Declaration, shall stipulate by virtue of
tacit assent that RESPONDENTS accept staternents-as ‘stated by Ewing as fact.
This AFFIDAVIT for Infringement of Constitutionally secured Rights and Denial
of Life, Liberty and-the piirsuit of Happiness in Common Law protected by the
united States and Syamingren State C onstitytions | is directed to:

‘FREEZE REVOCABLE TRUS T, Elizabeth Gallaghar, Bret Sachter, Paul Ww. Taylor, Jose!
Acuna, ACUNA CEDAR PRODUCTS, INC , Don McDermott, and Rich Wertich.

NE

IV, NOTICE to all DEBTORS and or RESPONDENTS:

The following AFFIDAVIT and NOTICE OF DEFAULT is not intended to
injure, defraud, coerce, threaten, to intimidate or to deceive, any insurer, one
or all the Debtors into compliance. Please answer to. the Allegations
according to your standing and to your truth under the “Flag of Peace’.

V. NOTICE to all DEBTORS and or RESPONDENTS:

RESPONDENTS S agree by: virtue of tacit assent that RESPONDENTS have
committed the following crimes that have infringed on Erie’s God-given tights:
DISCRIMINATION, DEPRIVATION OF RIGHTS, RACKETEE 2RING
RICO), ACTING UNDER COLOR OF ANY LAW, DERILICTION of
DUTY, VIOLATION OF OATH of OFFICE, MASQUER ADING AS
PUBLIC OFFICLALS, HARASSMENT, PERJURY, INTIMIDATION,
DOMESTIC TERRORISM, SUBORNATION OF PERJURY, COERCION,
HUMAN RIGHTS VIOLATION, FRAUD AND FALSE STATEMENTS,
CIVIL RIGHTS VIOLATION, toNotee cx CE OF OFFICE, MISPRISION
OF FELONY, OFFICIAL MISCONDUCT, CRIMINAL CONSPIRACY,
SEDITION AND INSURRECTION, BAD FAITH CLAIMS,
EMBARASSMENT, HUMILIATION, LIBEL and SLANDER hereinafter,
CRIMES and punished Eric without due process in absence of aay actual crime
agaist life, liberty, or property.

Commion Law AFFIDAVIT/DECLARATION OF TRUTH
3rd Notice of Constitutional Violations,
. Notice to Cure, Notice to Cease and Desist

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1 AI RESPONDENTS are in defaul: of Common Law AFFIDAVIT
/DECLARATION OF TRUTH Notice of Constitutional Violations,
Notice 10 Cure, Notice to Cease ane Desist, hereinafter, Affidavit 22, dated
December 13, 2021, and agree that RESPONDENTS fated to answer, respond or
comply with section IL. Of Affidavit 22. oe

2, On ot about January 15, 2022, AJ_LRESPONDENTS seceived Common Law
AFFIDAVIT/DECLARATION OF TRUTH Notice of Constitutional ..
Violations, Notice to Cure, Notice to Cease and Desist, hereinafter, Affidavit 33,
dated January 5,2022.° -

3. All RESPONDENTS are ir: default of Affidavit 33, and agree that .

RESPONDENTS failed to answet, respond or comply with section U. of AfSdavit

eo.

4. A RESPONDENTS agreed by tacit consent that Exic’s Common Law
AFFIDAVITs/ DECLARATION OF TRUTH teceived oy RESPONDENTS on
or after December 4rh, 202! are truthful and correct.

3. On or about November 29t, 1986, Ronald L, Freeze and Ann G. Freeze appointed
Peter G. Freeze of Concrete’ Washington as their true and lawful attorney and
granted Peter G. Freeze GENERAL POWER OF ATTORNEY in telation to the
roperty located at 4602 and 4606 Moen Rd, Concrete Washington hereinafter,
Property. 1

6, On or before November 2021) Peter G. Freeze bequeathed said Property to Frc
Freeze. to ne

a

. On’or about November 15, 2021, Enc arrived home to fied his home vandalized,
broken into end the door locks completely changed -

8. On ot about or after Novertber 16, 2021, Eqc nositied the Skagit County Sheriff
that his home bad been broken into, vandalized, and theft had occurred, and the
door locks removed and changed to new flocs of which Fric was not given seys.

9. On or about of after November 16, 2021, Skagit County Deputy Sheriff Mullen
-iold Eric that the perpetrator of the crimes committed against himn was Jose Acuna,
and that Skagit County Deputy Shesiff Mullen talked with Elizabeth Gallagher, who
verified that she hired Jose Acuna to break and exter Exic’s home and change the locks, and if
Exic needed any pessonal items from the home, he could get the key from Jose Acuna.

3 7 . wo Comimon Law AFFIDAVIT/DECLARATION OF TRUTH
: . . 3rd Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist

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10. All previous affidavits are included as part of the whole of this documenn Via
Registered, Certified, return Receipt, or USPS Mail, 70203160000172332027,
702031 60000025999704, 702C3160000025999698, 70203160000172332041,
70202450000226906689, DONS 702031600001 72332034

11.02 or after December 46, 202 i, actirig sheniff Don McDermott is tn deteliction of
his duty and violated his oath of Office for: °

a.

becoming complicit oy working in concertavith RESPONDENTS as
CRIMES continued and

failing to arrest j08C | Acuna for trespass, breaking and entering and theft

for failing to investigate, act upon or report Federal CRIMES. to a superior

authority of réport said CRIMES ¢ to a. Superior Court Judge.

Misprison of Felony

Disregarding ] Eric’s report of va andalism, theft and trespass
All CRIMES ..

12. On ¢ or after December 16, 2021, acting. Prosecutic nag Attomey Rich Weytich is in
dereliction of his duty and violated | his oath of Office for:

rry

becoming complicir by working in'concert with RESPONDENTS as
CRIMES continued and .

failing to indict Elizabeth Galiaghar for conspiracy to-hire for criminsi conspuracy,
failing to indict Jose Acuna for trespass, breaking aad entering, theft,
violation of Eric’s 4% Amendment Rights, F Fraud and vandalism.

for failing to investigate, act upon or teport Federal CRIMES to a superior

_ aathority of report said CRIMES to a Supedor Court Judge
.. Misprison of Felony |
‘All CRIMES:

13. In regard to all actions to remove Eric from Property, undertaken by
RESPONDENTS, Eric denies the RESPONDENTS’ statement that Enc was allowed
due process, or was allowed a lawful timely’ mannerto respond.

14. Eric states that every Komeshondvice from RESPONDENTS was answered in a lawful
timely manner.

15. Eric rebuts and disagrees with every claim RESPONDENTS has made against hum as
false statements. The RESPONDENTS have declared False Claims.

16. RESPONDENTS agree that Eric has’ responded to every correspondence in a sawtul
timely manner.

Common Law AFFIDAVIT/DECLARATION OF TRUTH
3rd Notice of Constitutional Violations,
Notice to Cure, Notice ta Cease and Desist
Case 2:23-cv-01135-JLR Document 41-1 Filed 03/20/24 Page 26 of 35

17. On or about December 13, 2921, Eric Bled ¢ . Lis Pendens, 202112130090, on all
Propezty. As stated in this Camron Law Lis Pendens, all words, terms, and phrases as
written in this document are.to be clarified arid defined only by Eric or hus
representative.

Statement of Fact; this:Lis Pendens, Skagit, County Auditor record number 221421 30000,

is filed on al! real estate, all buildings, all equipment, all contents and all merchandise. See
LAWFUL NOTICE page 6.::

18. Due to the RESPONDENTS’ unlawful actions Eric intends to lien the Property in
question for $740,876.00 for Exic’s, claims; interest and work performed. TRUST
and or RESPONDENTS. Have violated contract with Eric.

19. RESPONDENTS rejected Eric’s i good faith offer to cure in the atiginal
Affidavit dated December 12, 2021, and sent to RESPONDENTS, but agreed by
racit assent, “ If this reduced offer is not accepted, RESPONDENTS agrees the
full damage is due and payable to Eric. Setdlement amount does not reflect
total damages to Erjc.* = _

20, RESPONDENTS tejected Exic’s 234 good faith offer in Affidavit 22 dated January
5, 2022, for §$2,222,628.99 in fanctional currency of the United States.

Therefore, RESPONDENTS shall pay Total Damages to Exic as agreed in Item
“47 of this AFFIDAVIT copies fr om original anti gent dated December 13, 2021.

Whoever, uside: color of any law, stam te) ord dinacte, reguiatios 1, OF Custom, wiiéaily sudjects
any person in. any State, Tertitory, Common wealth, Possession, of District to the deprivation
of any nights, privileges, oz immunities secured or protected by the Constinution or laws of |
the united States, or to different punishments, pains, or penaities, on account of such person
being an alien, or by reason of his color, or race, than are prescribed for the punishment of
citizens, shail be fined under this tide or imprisoned not more than one year, of both; and if
bodily injury results fromthe acts committed in violation of this section or if such acts
include the use, attempted use, or threatened use of 2 ‘dangerous weapon, explosives, or fire,
shall be fined under this title or imprisoned not more than ten years, or both.

Asa result of nonresponse by RESPONDENTS to this ARPIDAN IT, RESPONDENTS agree
that any enjoinment of third parties by RESPONDENTS or unsolicited volunteers not
ptesently listed as a RESPONDENT in this AFFIDAVIT wil immediately de inciuded in this
matter as co-conspirators, liable for the f:U amount of cure and be responsible for all affidavits
prior, current and furure presented to RESPONDENTS.

5 i . Cammeon Law AFFIDAVIT/DECLARATION OF TRUTH
oo : 4rd Notice of Constitutional Violations,
Not ice to Cure,. Notice ¢ ts Caase and Desist

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LAWPUI. NOTICE
Sufficient Lawful notification haz been provided to Skagit County Sheriff, Don
McDermott, Skagit County Prosecutos, Rich Weysich and RESPONDENTS. ANY
ATTEMPT TO TRESPASS, REMOV#, SMUGGLE, DAMAGE, DESTROY, STEAL or
CONSPIRE TO DEPRIVE Eric of the items outlined but not limited to those in item 17,
Statement of Fact; will have the charges of TRESPASS, THEFT, POSSESSION OF

STOLEN PROPERTY, RACKETEERING, and al! CRIMES previously listed, Aled against
them. - ,

Eric makes this good faith 10 (ten) day Total Offer to Cure.
Therefore, Eric submits this invoice for, but not limited to; ACTING UNDER COLOR OF
LAW, failure to Cease and Desist uslewfiu acnons, violatios of Bric’s 4% Amendment
Rights, RICO, TRESPASS, FRAUD, DOMESTIC TERRORISM, CRIMINAL CONSPIRACY,
HARASSMENT, PERJURY, INTIMIDATION, SLANDER, fees, and expenses to Eric.
RESPONDENTS agree to make full payment, at time and place designated by Enc.

Total Offer. Because of these numerous, various and suridry unlawfu! actions,
infringements, of Exic’s rights, privileges, liberties, and pursuit of happiness, and attacks
on Exc’s chatectet, Eric sends. this invoice to cute as a second good faith settlement for
said RESPONDENTS’ unlawful acts upon Exic Freeze for $7,787,885.00 Seven Milion
Seven Hundzed Eighty Seven Thousand Eight Hundred Eighty Five eight dollars} USD
(in fanctional currency of the United States) for payment to Contract Collection Trust
hereinafter, CCT, at time and place designated by Enc. “

Iris agreed that receipt of payment for this Total Offer, hold harmless Settdement
sbsolves RESPONDENTS of any iegal liability for any injuries or damages suffered by
Eric. Total Offer amount reflects.damages to Eric. This good faith settlement offer is
only valid for the next 10 days from. receipt of this AFFIDAVIT. RESPONDENTS
shall pay in full Total Offer to Cure, within tea (10) days of receipt of AFFIDAVIT.
Total Offer voids without notice of intent or full payment.

RESPONDENTS agreed by tacit assent and default of December 13%, 2021, Common
Law AFFIDAVIT/DECLARATION OF TRUTH to pay the full amount of damages to
- Bric within 10 davs of receipt.of this AFFIDAVIT, with interest calculated at rate of 3.5
Y%p (three and 1/2 percent) compounded pet annum, prorated ruonthly starting December
13, 2021 of any and 2 unpaid damages to Eric.
CORRESPONDENCE
Common Law AFFIDAVIT/DECLARATION OF TRUTH
3rd Notice of Constitutional Violations,
‘Notice to Cure, Notice to Cease and Desist

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Should RESPONDENTS elec: co sete with payment of functional currency of the United
States, Make Cashiet’s check payable to: Contract Collection Trust
Place of payment: P. O. Box 119, Burlington, WA 98233
Time of payment: Within 20 days of receipt of this AFFIDAVIT.
. Should this offer be rejected, BY RESPONDENTS:

° RESPONDENT: agree to any form of encumbrance, lien, gamishment, aucton
or action on and of all RESPONDENT'S bonds, property, and assets. required to

sausfy Offer to Cure until the sum total damages and interest is collected by Eric
from each RESPONDENT. 3

e RESPONDENTS: agree that this contract is Notice of Consent to Judgement,
and Lien: of any personal property ot surety and this consent supersedes any and

all civil and or statute law for fling or leaning RESPONDENTS for damages
against Eric in RESPONDEN’ TS’ private, civil and or public capacity.

Of cis presentment take due Notice and heed and govern yourse:f »
accordingly. This FINAL EXPRESSION IN A RECORD is intended as a

cornplete and exclusive statement of the terms of the agreement between the
parnes,

CONCLUSION

Sufficient Lawful notification has been provided to Skagit County Prosecutor,
Rich Weyrich, Sheriff Don McDeemort and all RESPONDENTS stating that
RESPONDENTS must rebut these statements, charges and averments made in this
AFFIDAVIT, Pursuant to this Notice, 7 RESPONDENTS disagree with anything stated
in this AFFIDAVIT, they must rebut point by point with an affidavit given under Pain
and Penalty of Pesjury, within ( (10) ten days of receipt thereof. Any other reply not
conforming to Section II of this AFFIDAVIT, regardiess to subject matter is to be
considered false and a nonreply to this AFFIDAVIT. RESPONDENTS shall Cease and
Desist all unlawful actions against Eric.

An unrebutted affidavit stands as truth and fact before any court. Eric’s
constitutionally protected tights have been severely infringed because RESPONDENTS
have willfully, knowingly, worked in concert, in a pattern and practice to unlawfully
prevent Eric from pursuing Exic’s comstimutonally protected right to provide for himself.
These rights have been severely curtailed because Oe have unlawhily
imposed unconstitutional demands w neseupoa RE SPONDENTS have jointly agreed to
infringe Eric’s dights by FRAUD t to the deteimeant of Eric. RESPONDEN7 TS have
violated Exic’s rights .

RESPONDENTS’ faiiure to respond, as stipulated, is your tacit agreement with
and admission te the fact that everytning.in this AFEIDAVIT is true, correct, legal, lawful,

7 Common taw AFFIDAVIT/DECLARATION OF TRUTH
3rd Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist

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and is your irrevocable admission attesting to this, fully bindisg upon you in any court of
law in America, without your protest, objection and that of those who represent you.

1. The Definitions, meanings of all word(s), term(s), and phrase(s) as written in
this document are to be defined only by Exic ot his tepresentative, acting by Right
of original common law jutisdiction. Any definitions or explanations must be
requested in writing and will be answered in a timely manner. Requests for definitions
shall not delay or extend the time given to respond to this AFFIDAVIT. Affiant
further sayeth naught. All Rights Reserved,

Swor Statement patzeraed pet 28 U.S.C. 1746 (2):
. “{ declare under pain and penalty of perjuty under the laws of the (organic) United
Staces of America that the foregoing i is true and correct. Executed on Janyary 28, 2022.
With All Rights Reserved,

eclarant, in propria persona
UCC 1.308 without prejudice

‘Oautiay 2b, eid

Date

Common. Law AFFIDAMIT/DECLARATION OF TRUTH
2“ Notice of Constitutional Violations,
' Notice to Cure, Netice to Caase and Des!st

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McDermott, hereinafter, RESPONDENTS, by virtue of the Constitutionally secured
Right to Redress of Grievance in original Organic Common Law Jurisdiction as is the
Right of all beneficiaries of the Organic Laws of the united States of America.

I. This AFFIDAVIT shall be considered sufficient lawful notice to the patties,
ALL RESPONDENTS, herein named. Said AFFIDAVIT is hereby made
pursuant to Original Jurisdiction Organic Law and the united States
Constitution, specifically, the Bill of Rights, in particular, Amendments I, IV, V,
VI, VIL, [X, X and XIV and The Washington State Constitution, in particular
Atticle 1, Sections 1, 2, 3, 4, 5, 6, 7, 8, 10, 11, 27, 29, 30, 32 and 35. Article 9
section 1 - Education Preamble, Article 9 section 4 - Sectarian control of
influence prohibited.

Il.

RESPONDENTS sworn response given under pain and penalty of perjury
specific to each and every point of the subject matter stated herein must be
received within (10) ten days after RESPONDENTS’ teceipt of Eric’s
AFFIDAVIT. Any other reply not conforming to this Section I, regardless to
subject matter is to be considered false and a nonreply. RESPONDENTS failure
to tespond point by point and item by item to the facts presented in this
AFFIDAVIT, shall stipulate by virtue of tacit assent that RESPONDENTS
accept statements as stated by Eric as fact.

1. All RESPONDENTS are in default of December 13 and or 14, 2021 Common
Law AFFIDAVIT/DECLARATION OF TRUTH, and agree that RESPONDENTS
failed to answer, tespond or comply with section II. Of Affidavit.

2. AllRESPONDENTS agteed by tacit consent that the Common Law AFFIDAVIT/
DECLARATION OF TRUTH received by RESPONDENTS on or after
December14th, 2021 was truthful and correct.

3. On or about November 29t, 1986, Ronald L. Freeze and Ann G. Freeze appointed
Peter G. Freeze of Concrete Washington as their true and lawful attorney and granted
Peter G. Freeze GENERAL POWER OF ATTORNEY in relation to the property
located at 4602 and 4606 Moen Rd, Conctete Washington hereinafter, Property.

4. On or before November 2021, Peter G. Freeze bequeathed said Property to Eric
Freeze.

5. All previous affidavits are included as part of the whole of this document.

2 Common Law AFFIDAVIT/DECLARATION OF TRUTH
2"4 Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist

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6. On ot after December 16, 2021, acting Sheriff Don McDermott was in dereliction of
his duty and violated his oath of Office becoming complicit by working in concert with
RESPONDENTS as ctimes continued and for failing to investigate, act upon or report
Federal crimes to a superior authority or report said crimes to a Superior Court Judge.

7. In regard to all actions to remove Eric from Property, undertaken by RESPONDENTS,
Eric denies the RESPONDENTS’ statement that Eric was allowed due process, or was
allowed a lawful timely manner to respond.

8. Eric states that every correspondence from RESPONDENTS was answered in a lawful
timely manner.

9. Eric rebuts and disagrees with every claim RESPONDENTS has made against him as false
statements. The RESPONDENTS have declared False Claims.

10. RESPONDENTS agtee that Eric has responded to every correspondence in a lawful
timely manner.

11. Due to the RESPONDENTS’ unlawful actions Eric intends to lien the Property in
question for $740,876.00 for Eric’s, claims, interest and work performed. TRUST and or
RESPONDENTS have violated contract with Eric.

Whoever, under color of any law, statute, ordinance, regulation, ot custom, willfully subjects
any person in any State, Territory, Commonwealth, Possession, or District to the deprivation
of any tights, privileges, or immunities secured or protected by the Constitution or laws of
the united States, or to different punishments, pains, ot penalties, on account of such petson
being an alien, or by reason of his color, or race, than are prescribed for the punishment of
citizens, shall be fined under this title or imprisoned not more than one year, or both; and if
bodily injury results from the acts committed in violation of this section or if such acts
include the use, attempted use, or threatened use of a dangerous weapon, explosives, or fire,
shall be fined under this title or imprisoned not more than ten years, or both.

Asa result of nonresponse by RESPONDENTS to this AFFIDAVIT, RESPONDENTS agtee
that any enjoinment of third patties by RESPONDENTS or unsolicited volunteers not
presently listed as a RESPONDENT in this AFFIDAVIT, will immediately be included in this
matter as co-conspirators, liable for the full amount of cure and be responsible for all affidavits
prior, current and future presented to RESPONDENTS.

LAWFUL NOTICE

3 Common Law AFFIDAVIT/DECLARATION OF TRUTH
2™4 Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist

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Sufficient Lawful notification has been provided to Skagit County Prosecutor, Rich
Weytich and RESPONDENTS, stating that RESPONDENTS must rebut these statements,
charges and averments made in this AFFIDAVIT. RESPONDENTS shall Cease and Desist
all unlawful actions against Eric. If RESPONDENTS fail to respond as per Section II of
AFFIDAVIT, then, RESPONDENTS tacitly agree with all AFFIDAVIT statements and
admit to them. Pursuant to this lawful notification, if you disagree with anything stated under
oath in this AFFIDAVIT, then rebut to Eric that with which you disagree, with
particularity, within (10) ten days of receipt thereof, by means of your own written,
notatized affidavit of truth, based on specific, true, relevant fact and valid law to support
your disagreement, attesting to your rebuttal and supportive positions, as valid and lawful,
under the pains and penalties of perjury under the laws of the united States of America
and this state of Washington. An unrebutted affidavit stands as truth and fact before any
court. Your failure to respond, as stipulated, is your tacit agreement with and admission to
the fact that everything in this AFFIDAVIT is true, correct, legal, lawful, and is your
irrevocable admission attesting to this, fully binding upon you in any coutt of law in
America, without your protest, objection and that of those who represent you.

OFFER TO CURE
RESPONDENTS tejected Eric’s 1st good faith offer to cure and agreed by tacit assent to

pay the FULL DAMAGES due and payable to Eric. Eric makes a second Offer to Cure.

Therefore, Eric submits this invoice for, but not limited to, ACTING UNDER COLOR OF
LAW, failure to Cease and Desist unlawful actions, violation of Eric’s 4 Amendment
Rights, RICO, TRESPASS, FRAUD, DOMESTIC TERRORISM, CRIMINAL CONSPIRACY,
HARASSMENT, PERJURY, INTIMIDATION, SLANDER, fees, and expenses to Eric.
RESPONDENTS agtee to make full payment, at time and place designated by Eric.

Offer #2. Because of these numerous, vatious and sundry unlawful actions,
infringements, of Eric’s rights, privileges, liberties, and pursuit of happiness, and attacks
on Etic’s character, Eric sends this invoice to cure as a second good faith settlement for
said RESPONDENTS’ unlawful acts upon Eric Freeze for $2,222,628.99 in functional
currency of the United States) (I'wo million two hundred twenty-two thousand six hundred
twenty eight dollars and ninety nine cents) USD (U.S. real money dollars) for payment to
Contract Collection Trust hereinafter, CCT, at time and place designated by Eric.

It is agreed that receipt of payment for this Offer #2, hold harmless Settlement absolves
RESPONDENTS of any legal liability for any injuries or damages suffered by Eric.
Settlement amount reflects damages to Eric. This second, good faith settlement offer is
only valid for the next 20 days from receipt of this AFFIDAVIT. RESPONDENTS
shall pay in full or notify CCT via Affidavit of intent to exercise Offer to Cute, Option

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2"4 Notice of Constitutional Violations,
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#2 within ten (10) days of receipt of AFFIDAVIT. Offer voids without notice of intent
or full payment.

RESPONDENTS agteed by tacit assent and default of December Common Law
AFFIDAVIT/DECLARATION OF TRUTH to pay the full amount of damages to Eric
within 20 days of receipt of this AFFIDAVIT, with interest calculated at rate of 3.5 %

(three and 1/2 percent) compounded per annum, prorated monthly starting December
13, 2021.

CORRESPONDENCE
Should RESPONDENTS elect to settle with payment of functional curtency of the United
States, Make Cashiers check payable to: Contract Collection Trust
Place of payment: P. O. Box 119, Burlington, WA 98233
Time of payment: Within 20 days of receipt of this AFFIDAVIT.

Should this offer be rejected, BY RESPONDENTS:
¢ RESPONDENTS agtee to any form of encumbrance, lien, garnishment, auction
or action on and of all RESPONDENT’S bonds, property, and assets, required to

satisfy Offer to Cure until the sum total and interest is collected by Eric from each
RESPONDENT.

e RESPONDENTS agree that this contract is Notice of Consent to Judgement,
and Lien of any personal property or sutety and this consent supersedes any and
all civil and or statute law for filing or leaning RESPONDENTS for damages
against Eric in RESPONDENTS’ private, civil and or public capacity. —

e Of this presentment take due Notice and heed and govern yourself
accordingly. This FINAL EXPRESSION IN A RECORD is intended as a
complete and exclusive statement of the terms of the agreement between the
patties.

CONCLUSION

Sufficient Lawful notification has been provided to Skagit County Prosecutor,
Rich Weyrich and all RESPONDENTS stating that RESPONDENTS must rebut these
statements, charges and averments made in this AFFIDAVIT. Pursuant to this Notice, if
RESPONDENTS disagtee with anything stated in this AFFIDAVIT, they must rebut
point by point with an affidavit given under Pain and Penalty of Perjury, within (10) ten
days of receipt thereof. Any other reply not conforming to Section I of this
AFFIDAVIT, regardless to subject mattet is to be considered false and a nonreply to this
AFFIDAVIT. An unrebutted affidavit stands as truth and fact before any coutt. Eric’s
constitutionally protected rights have been severely infringed because RESPONDENTS
have willfully, knowingly, worked in concert, in a pattern

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and is your irrevocable admission attesting to this, fully binding upon you in any court of
law in America, without your protest, objection and that of those who represent you.

1. The Definitions, meanings of all word(s), term(s), and phrase(s) as written in
this document are to be defined only by Etic or his representative, acting by Right
of original common law jurisdiction. Any definitions or explanations must be
requested in writing and will be answered in a timely manner. Requests for definitions

shall not delay ot extend the time given to respond to this AFFIDAVIT. Affiant
further sayeth naught. All Rights Reserved,

Sworn Statement patterned per 28 U.S.C. 1746 (1):

“T declare under pain and penalty of perjury under the laws of the (organic) United
States of America that the foregoing is true and correct. Executed on January 05, 2022.
With All Rights Reserved,

(Signature): Cie Lup

v=
Hac HECZE,

Affiant/Declarant, in propria persona
UCC 1-308 with og

AY fee.

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2nd Notice of Constitutional Violations,
Notice to Cure, Notice to Cease and Desist
